






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00064-CV







In re Thomas Hollowell







ORIGINAL PROCEEDING FROM LLANO COUNTY





M E M O R A N D U M   O P I N I O N


		Relator Thomas Hollowell filed a petition for writ of mandamus, seeking to compel
the trial court to act on his pending application for writ of habeas corpus pursuant to article 11.072
of the Texas Code of Criminal Procedure.  See Tex. Code Crim. Proc. Ann. art. 11.072 (West 2005). 
The trial court has since filed a response reflecting that it has taken the requested action. 
Accordingly, the petition for writ of mandamus is dismissed as moot.

						


						___________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Filed:   April 8, 2011


